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                   1   LATHAM & WATKINS LLP
                         Timothy L. O’Mara (Bar No. 212731)
                   2       tim.o’mara@lw.com
                         Sadik Huseny (Bar No. 224659)
                   3       sadik.huseny@lw.com
                         Andrew M. Gass (Bar No. 259694)
                   4       andrew.gass@lw.com
                         Kirsten M. Ferguson (Bar No. 252781)
                   5       kirsten.ferguson@lw.com
                         Alicia R. Jovais (Bar No. 296172)
                   6       alicia.jovais@lw.com
                         Robin L. Gushman (Bar No. 305048)
                   7        robin.gushman@lw.com
                       505 Montgomery Street, Suite 2000
                   8   San Francisco, California 94111-6538
                       Telephone: +1.415.391.0600
                   9   Facsimile: +1.415.395.8095
               10      Attorneys for Defendants Ticketmaster L.L.C.
                       and Live Nation Entertainment, Inc.
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               12
                                          UNITED STATES DISTRICT COURT
               13
                                        CENTRAL DISTRICT OF CALIFORNIA
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                       Skot Heckman, Luis Ponce, Jeanene         Case No. 2:22-cv-00047-GW-GJS
               16      Popp, and Jacob Roberts, on behalf of
                       themselves and all those similarly
               17      situated,                                 DEFENDANTS’ SECOND
                                                                 SUPPLEMENTAL BRIEF IN
               18                        Plaintiffs,             SUPPORT OF MOTION TO
               19                                                COMPEL ARBITRATION
                       v.
               20                                                The Honorable George H. Wu
                       Live Nation Entertainment, Inc., and
               21      Ticketmaster LLC,
               22                        Defendants.             Hearing Date: August 10, 2023
               23                                                Hearing Time: 8:30 a.m.
               24                                                Courtroom: 9D, 9th Floor
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                   1 I.      Procedural Unconscionability
                   2         The fact that Defendants did not specifically notify consumers that the current
                   3 Terms changed arbitration providers does not make them procedurally
                   4 unconscionable. Multiple courts, including this one, have held that a company need
                   5 not specifically notify consumers when it adds an arbitration clause, so long as the
                   6 consumer before the court assented to the updated terms. See Lee v. Ticketmaster,
                   7 2019 WL 9096442, at *1 (N.D. Cal. Apr. 1, 2019), aff’d, 817 F. App’x 393 (9th Cir.
                   8 2020) (plaintiff argued “that he could not have assented to arbitration, because when
                   9 he first began using the website, the Ticketmaster terms did not include an arbitration
               10 clause, and Ticketmaster did not notify users when the terms were amended”; court
               11 enforced arbitration agreement because plaintiff “assented to terms that included an
               12 arbitration clause when purchasing tickets”).1 Changing a contract from one with
               13 no arbitration provision to one with a mandatory arbitration provision and class
               14 action waiver is a far more significant change than switching from one arbitration
               15 provider to another. If no specific notice is required for the former, then no specific
               16 notice is required for the latter. Indeed, if the Court denied the present motion
               17 because Defendants did not provide specific notice of the change in arbitration
               18 providers, that would be a significant change in the law. See, e.g., Greenberg v.
               19 Amazon, 2021 WL 7448530, at *6 (N.D. Cal. May 7, 2021) (rejecting plaintiffs’
               20 argument that “Amazon must provide a separate, additional communication of its
               21 unilateral addition of the arbitration provision to its COUs,” because “the standard
               22 for apprising a person of a unilateral change to a contract is ‘reasonable notice,’” and
               23 “[w]ith the reasonable notice standard in mind, … [plaintiffs] manifested their assent
               24 to [the updated] terms by clicking the ‘Place your order’ button”) (emphasis added).
               25 Defendants followed existing case law, in particular Lee—a case affirmed by the
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                       1
               27  See also, e.g., Weber v. Amazon, 2018 WL 6016975, at *6, *11 (C.D. Cal. June 4,
                  2018) (Wu, J.) (specific notice of adding arbitration clause not required; arbitration
               28 agreement enforceable because plaintiff assented to amended terms); McKee v.
                  Audible, 2017 WL 4685039, at *11 n.7 (C.D. Cal. July 17, 2017) (Wu, J.) (same).
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                   1 Ninth Circuit, involving the same Defendants and the same website—regarding the
                   2 notice required (or more specifically not required) when a company amends its
                   3 terms. Doing so was not procedurally unconscionable.
                   4        The fact that Defendants’ websites contain a browsewrap notice at the bottom
                   5 of most pages (which was true in Lee, Dickey, Oberstein, etc. too) is irrelevant.
                   6 Whether a consumer who agreed to arbitrate at JAMS could somehow be bound to
                   7 arbitrate at New Era simply because she browsed Defendants’ websites after the
                   8 Terms were updated is a hypothetical with no application to this case. Before
                   9 Defendants updated the Terms to change arbitration providers, Defendants upgraded
               10 the assent at purchase from modified clickwrap (a simple notice above the action
               11 button) to full clickwrap (a checkbox). Now, to purchase tickets, consumers must
               12 affirmatively check a box stating: “I have read and agree to the current Terms of
               13 Use.” There are four plaintiffs in this case: Skot Heckman, Luis Ponce, Jeanene
               14 Popp, and Jacob Roberts. No other consumers are before the Court at this time.
               15 Heckman checked this clickwrap box—assenting to the current Terms selecting New
               16 Era—four times, buying 5 tickets in the process; Ponce checked this box five times,
               17 buying 10 tickets; Popp checked this box eight times, buying 12 tickets; and Roberts
               18 checked this box five times, buying 15 tickets. It is hard to imagine a case where
               19 the record of assent is as clear and unequivocal as the facts presently before the
               20 Court. This motion must be decided on those facts. And on those facts, holding that
               21 the Terms are highly procedurally unconscionable would be unprecedented.2
               22           The fact that the Terms contain a unilateral modification provision also
               23 doesn’t warrant a finding of unconscionability. That is a standard provision in online
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               25      2
                    Furthermore, no court has found an arbitration agreement unenforceable where
               26 there was assent based on full or modified clickwrap, merely because a company
                  also had browsewrap on its website. See, e.g., Dickey v. Ticketmaster, 2019 WL
               27 9096443, at *6-7 & n.3 (C.D. Cal. Mar. 12, 2019) (Wu, J.) (browsewrap irrelevant
                  where plaintiff “assented to the TOU … when facing the Sign Up Screen”);
               28 Ajzenman v. Comm’r of Baseball, 2020 WL 6031899, at *3 (C.D. Cal. Sept. 14,
                  2020) (same).
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                   1 contracts like this,3 and it is well established that this language is not unconscionable
                   2 because “implied in the unilateral right to modify is the accompanying obligation to
                   3 do so upon reasonable and fair notice.” Serpa v. Cal. Sur., 215 Cal. App. 4th 695,
                   4 708 (2013); see also Wiseley v. Amazon, 709 F. App’x 862, 864 (9th Cir. 2017).
                   5 Again, the notice provided here—a checkbox stating that the user has read and
                   6 agrees to the current Terms—is “reasonable and fair” as a matter of law. See
                   7 Oberstein v. Live Nation, 60 F.4th 505, 512-13 (9th Cir. 2023) (courts “routinely”
                   8 enforce clickwrap, where “users must check a box explicitly stating ‘I agree’ in order
                   9 to proceed”); In re Holl, 925 F.3d 1076, 1084 (9th Cir. 2019) (“no question” that
               10 plaintiff agreed to the terms where “[h]e checked a box acknowledging as much”).
               11 II.        Substantive Unconscionability
               12            The Court has questioned whether New Era’s Rules create a form of “class”
               13 preclusion which deprives individual claimants of representation and a right to be
               14 heard and, relatedly, whether the switch from JAMS to New Era makes it impossible
               15 for a large number of small claims to be brought in arbitration. The answer to both
               16 questions is unequivocally: “no.”
               17            In 2018, Keller Lenkner filed 12,501 individual arbitrations at JAMS asserting
               18 identical claims against Uber; and in 2019-20, Keller Lenkner filed 6,250 individual
               19 arbitrations at AAA asserting identical claims against DoorDash. Those two events
               20 gave rise to the concept of “mass arbitration,” and establish the paradigm for what
               21 mass arbitration is. So what happens when a single firm files thousands of identical
               22 claims at JAMS or AAA? First, the defendant typically has thirty days to pay tens
               23 of millions of dollars in filing fees—money that goes to the arbitration provider, not
               24 to claimants. That deadweight loss creates astronomical settlement leverage that has
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                      3
               26   See, e.g., Capital One Terms § 7 (Feb. 27, 2023), https://www.capitalone.com
                  /digital/terms-conditions/ (“We may amend any of this Agreement’s terms at our
               27 sole discretion by posting revised terms on the Site… [W]hen you use the Site after
                  the effective date of the revised Agreement you accept the terms.”); Uber Terms § 1
               28 (June 14, 2023), https://www.uber.com/legal/en/document/?name=general-terms-
                  of-use&country=united-states&lang=en (similar).
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                   1 nothing to do with the merits of the individual claims. Second, JAMS and AAA
                   2 cannot individually arbitrate thousands of claims on the merits, one by one; they
                   3 don’t have any rules or procedures for doing so, and they don’t have enough neutrals.
                   4 The result is a procedural morass, where individual claims are not capable of being
                   5 arbitrated on the merits. A world where the judicial forum breaks down and the
                   6 litigation is completely divorced from the merits makes no sense.
                   7         New Era was founded in 2020. They engaged many of the top neutrals in the
                   8 country, created various efficiencies around online proceedings, and developed some
                   9 of the very first rules and procedures that aim to fairly and efficiently arbitrate mass
               10 arbitrations. To be frank, the primary innovation was around filing fees—i.e., creating
               11 a model that generated enough revenue to be a viable business, without imposing
               12 multi-million-dollar upfront filing fees that forced parties to settle meritless claims.
               13 Beyond that, the Rules create a bellwether process that allows the parties to assess the
               14 strengths and weaknesses of their cases, which in turn may facilitate global settlements
               15 (in whole or in part).        But if there is no settlement, the claims are addressed
               16 individually, with precedent applying in the exact same, non-binding manner it does
               17 in courts of equal level. There is no way this procedure can be a due process violation.
               18            Under New Era’s Rules, no claimant represents absent claimants, and there is
               19 no quasi-class preclusion that prevents anyone from being heard. To the contrary,
               20 mass arbitrations are expressly limited to claims filed by the same firm. ECF No.
               21 30-4, Rules 2(x)(ii)(1), 6(b)(ii)(2)(b); see also ECF No. 194-1, Rules 1(c)(iii)(3)(a),
               22 6(b)(ii)(1).4     That threshold requirement alone addresses many of the Court’s
               23 concerns. But regardless, each claimant picks their own counsel. Each claimant
               24 files their own complaint. ECF No. 30-4, Rules 6(a)(ii)(1), 6(b)(ii)(4). Each
               25 claimant, at the outset of their case, uploads their own evidence and “initial
               26
                       4
               27  As explained in Defendants’ briefing, New Era’s original Rules are best interpreted
                  as satisfying due process. That said, over the course of two hearings and multiple
               28 months, the Court suggested that perhaps the best reading of the Rules was one that
                  did not pass muster. New Era has clarified its Rules to address the Court’s concerns.
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                   1 arguments.” Id. 6(a)(vii)(1). Each claimant has a right to present facts and evidence
                   2 that will inform the neutral’s understanding. Id. 2(r)(i). Each claimant may present
                   3 witness testimony. Id. 2(n)(i). Each claimant can raise whatever individualized
                   4 issues exist in their specific case.       Id. 6(b)(iii)(4)(d), 6(b)(iii)(6)(a).   And,
                   5 importantly, precedent from the bellwether cases is not binding; each claimant can
                   6 argue that such precedent is wrong, distinguishable, or should not be applied for any
                   7 other valid reason. ECF No. 194-1, Rules 6(b)(iii)(5)(a), 6(b)(iii)(6)(a). No one is
                   8 “[bound] … to the choices that are made” in the bellwethers, July 13 Tr. 13:25-14:3,
                   9 14:20-15:3, and the bellwethers do not have “collateral estoppel effect,” id. 18:4-6.5
               10 III.       Severability
               11            Even if the selection of New Era were unenforceable, this case still must be
               12 sent to arbitration—i.e., the Court’s tentative is exactly right on severability. The
               13 Terms “contain[] a clause stating that in the event New Era cannot conduct the
               14 arbitration for any reason, the arbitration will instead be conducted by a different
               15 arbitration provider.” Tentative, ECF No. 160 at 17; see ECF No. 31-30 at 12
               16 (identifying FairClaims as the alternate provider) & 14 (severability clause).
               17 Because “the provisions Plaintiffs claim are unconscionable almost exclusively
               18 relate to the selection of New Era,” the Court can sever the selection of New Era,
               19 and direct the parties to arbitrate at FairClaims. Tentative at 17; see also Defs.’
               20 Reply, ECF No. 153 at 21-22. Plaintiffs have not challenged FairClaims—on
               21 unconscionability or any other grounds—and have thus waived any such argument.
               22 Consequently, at a minimum, this case must be arbitrated at FairClaims.
               23     5
                   The Court asked about Lamps Plus. There, the Supreme Court declined to infer an
               24 agreement to arbitrate on a classwide basis (which could create a “procedural
                  morass”) where the parties had not expressly agreed to that procedure: if parties
               25 “specify[] … the rules by which they will arbitrate,” “the task for courts” is “to give
                  effect to the intent of the parties.” 139 S. Ct. 1407, 1416 (2019). Here, the parties
               26 agreed to arbitrate pursuant to New Era’s Rules. Moreover, while the Supreme Court
                  has “expressed skepticism regarding class arbitration, it did not hold that the FAA
               27 prohibits it. To the contrary, the Supreme Court has … held that an ‘arbitrator may
                  employ class procedures ... if the parties have authorized them.’” Lee v. Postmates
               28 Inc., 2018 WL 6605659, at *8 n.9 (N.D. Cal. Dec. 17, 2018) (quoting Oxford Health
                  Plans LLC v. Sutter, 569 U.S. 564, 565 (2013)).
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                   1 Dated: July 27, 2023       Respectfully Submitted,
                   2
                                                     LATHAM & WATKINS LLP
                   3
                   4                           By:
                                                     Timothy L. O’Mara
                   5                                 505 Montgomery Street, Suite 2000
                   6                                 San Francisco, California 94111-6538
                                                     Telephone: +1.415.391.0600
                   7                                 Facsimile: +1.415.395.8095
                                                     tim.o’mara@lw.com
                   8                                 Attorneys for Defendants
                                                     Ticketmaster L.L.C. and Live Nation
                   9                                 Entertainment, Inc.
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                   1
                                            CERTIFICATE OF COMPLIANCE
                   2
                   3        The undersigned, counsel of record for Defendants Ticketmaster L.L.C. and
                   4 Live Nation Entertainment, Inc., certifies that this brief contains 5 pages, which
                   5 complies with the page limit set by the Court in its July 13, 2023 order (ECF
                   6 No. 182).
                   7
                   8 Dated: July 27, 2023                   _______________________________
                   9                                                Timothy L. O’Mara
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